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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 THOMAS DEXTER JAKES,                               Case No. 2:24-CV-1608-WSS

        vs.

 DUANE YOUNGBLOOD,
 JOHN DOE 1,
 JOHN DOE 2,
 JOHN DOE 3,                                        DECLARATION OF DUSTIN A.
 JOHN DOE 4,                                        PUSCH IN SUPPORT OF
 JOHN DOE 5,                                        PLAINTIFF’S OPPOSITION TO
 JOHN DOE 6,                                        SPECIAL MOTION TO DISMISS
 JOHN DOE 7,                                        PURSUANT TO PENNSYLVANIA’S
 JOHN DOE 8,                                        ANTI-SLAPP STATUTE
 JOHN DOE 9, and
 JOHN DOE 10,

                             Defendants.


      DUSTIN ANDREW PUSCH, being duly sworn, states as follows:

      1.       I am a United States citizen, am over the age of 18, am sound of mind, and make

this declaration based on my personal knowledge and review of publicly available information.

      2.       I am admitted to practice in this Court pro hac vice and I am a member in good

standing of the bars of the District of Columbia and the Commonwealth of Virginia. I am a partner

at Meier Watkins Phillips Pusch LLP, located at 919 18th Street NW, Suite 650, Washington,

D.C., 20006.

Defendant Duane Youngblood’s Criminal History

      3.       I reviewed publicly available documents related to Defendant Duane Youngblood’s

criminal history, including his criminal case file from the Commonwealth of Pennsylvania,

Allegheny County (Exhibit 1), the hearing transcripts from his 2015 sentencing hearing (Exhibit
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2)1 and 2015 probation violation hearing (Exhibit 3), his Parolee Locator report (Exhibit 4), the

Megan’s Law Public Report regarding his sex offender registration history (Exhibit 5), and the

2024 Pennsylvania Correctional Industries Inmate Apparel PowerPoint (Exhibit 6).

       4.      On January 30, 2006, Defendant Youngblood was arrested and charged with sexual

assault for engaging in “sexual intercourse or deviant sexual intercourse with JOHN DOE, A

MALE UNDER THE AGE OF 16 without his or her consent” pursuant to Pennsylvania code §

3124.1. (Exhibit 1 at 2.) The charge stemmed from Defendant Youngblood sexually assaulting

a 15 year-old boy in Fall 2002 while he was counseling a boy from his church, Higher Call World

Outreach. (Exhibit 1 at 40.) On March 3, 2008, after pleading guilty to the charges, Defendant

Youngblood was sentenced to 1 year of confinement and 7-years probation. (Exhibit 1 at 44.) He

was also required to register as a “sexual offender” for life. (Exhibit 1 at 42.)

       5.      On July 12, 2014, Defendant Youngblood was arrested again and charged with the

Corruption of Minors, among other crimes associated with the sexual abuse of a minor. (Exhibit

1 at 61.) The charges stemmed from Defendant Youngblood’s abuse in 2011 of yet another minor

he was counseling at his church. (Exhibit 2 (March 10, 2015 Sentencing Hearing Transcript).)

After initially pleading not guilty and denying guilt for months, he finally admitted guilt and plead

guilty to the charge in December 2014. (Exhibit 3 at 14 (June 8, 2015 Probation Violation Hearing

Transcript).) On March 10, 2015, Defendant Youngblood was sentenced to 16 to 48 months

incarceration. (Exhibit 2 at 30.)

       6.      On March On June 8, 2015, Defendant Youngblood appeared for his probation

violation hearing before the Honorable David Cashman, Judge of the Allegheny County Court of



1
  While the March 10, 2015 (Exhibit 2) and June 8, 2015 (Exhibit 3) hearing transcripts I reviewed
that were provided by the Allegheny County court system was unredacted, out of respect for the
victim and family, the copy attached to this declaration have been redacted to remove their names.
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Common Pleas. (Exhibit 3.) During that hearing, Defendant Youngblood made no mention of

having been abused by Bishop Jakes 29 years earlier when he was 19 years old, or even mention

Bishop Jakes at all. (Id.) When he brought up his claims of past abuse by others “before [he] was

18 years of age,” he swore to the Court that he had been “keeping this stuff buried and a secret

from anybody who could have done anything to help [him],” “had not shared what [he] was going

through my own self,” and with regard specifically to his wife of (then) “26 years” he “was not

able to share with her openly what was going on down on the lower level of [his] heart.” (Id. at.

10-11.) At the same hearing, Defendant Youngblood’s victim’s mother called him a “serial child

molester” who “denied everything” until trial. (Id. at 14-15.) Ultimately, Judge Cashman

sentenced 54-108 months to “run consecutive” to his earlier sentencing of 16-48 months for the

“Corruption of Minors” charge. (Id. at 19.) In levying that sentence, Judge Cashman called

Defendant Youngblood a scammer who had “misled” and “deceived” the Court. (Id. at 6, 19.)

      7.      It is my understanding based on the review of publicly available documents about

Defendant Youngblood that he thereafter was in prison for most—if not all—of the subsequent 9

years following 2015 conviction. According to the Pennsylvania Parole Board Parolee Locator

system (https://inmatelocator.cor.pa.gov/#/), Defendant Youngblood was released from prison on

August 13, 2024. (Exhibit 4.) Moreover, according to the public report for Duane Youngblood

on the Pennsylvania State Police Megan's Law website (https://www.meganslaw.psp.pa.gov/)

which makes information about registered sex offenders available to the public, Defendant

Youngblood was wearing inmate apparel in his photos dated 2/18/2021, 4/27/2021, 9/2/2022, and

11/13/2023. (Compare Exhibit 5 with Exhibit 6.)




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According to Defendant Youngblood, His False Accusation of Sexual Assault Against Bishop
Jakes Occurred On or Around June 9, 1986.

      8.      On October 28, 2024 and November 3, 2024, Defendant Youngblood appeared on

two separate episodes of the YouTube show Larry Reid Live, during which he made his false

accusations about Bishop Jakes. (Exhibits 7 & 8).

      9.      In his October 28, 2024 appearance on the Larry Reid Live YouTube show,

Defendant Youngblood states that the alleged incident with Bishop Jakes took place on or around

Bishop Jakes’s birthday, which is June 9. (See Exhibit 7 at 55:9-25.)

      10.     According to Defendant Youngblood’s own statements to the police report as

memorialized in the police report for the complaint he filed, the alleged “incident” took place

when “he was 19 y/o.” (Blackburn Decl., Exhibit T (ECF No. 35-24).)

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      11.        Therefore, because Defendant Youngblood was born on December 29, 1966, the

date of the alleged incident could only be on or around June 9, 1986.

Defendant Duane Youngblood’s Business Ventures Capitalizing on His Larry Reid Live
Interviews and False Accusations About Bishop Jakes.

      12.        On November 9, 2024—six days after his second appearance on Larry Reid Live

on which he falsely accused Bishop Jakes of sexual assault and other defamatory claims—

Defendant Youngblood (or someone on his behalf) purchased the rights to the internet domain

name duaneyoungblood.com. (Exhibit 9 (GoDaddy WHOIS Database Domain Registration

Information).)

      13.        The   same    day   Defendant     Youngblood      procured    the   rights   to

duaneyoungblood.com, the website included a graphic that his website was “Launching Soon.”

(Exhibit 10.)




      14.        On January 12, 2025—just over two months after procuring the rights to

duaneyoungblood.com and just a few weeks after asking the Court for and receiving an extension

to respond to Bishop Jakes’s complaint—Defendant Youngblood formally launched his website

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and new business venture. (See Exhibit 11 (January 12, 2025 Facebook post by Duane

Youngblood); see also Exhibit 12 (February 4, 2025 screen capture of duaneyoungblood.com.

Defendant Youngblood launched his website and business enterprise).)

      15.     Defendant Youngblood’s new business offers numerous services and products to

would-be customers, including public speaking offerings, workshops, one-on-one coaching, and

other online resources. (Exhibit 12.)




      16.     Defendant Youngblood’s business website includes a specific “Interviews” section,

which when launched included links and embedded thumbnails of the two Larry Reid Live video

podcast interviews he gave on October 28, 2024 and November 3, 2024. (Exhibit 12.)




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      17.     Defendant Youngblood’s business website provides visitors with the name,

number, and email address of his “publicist.” (Exhibit 12.)




      18.     And Defendant Youngblood’s business website includes a countdown graphic for

the forthcoming release of his book, I Overcame It to Live My Best Life, which is set to be released

on March 3, 2025 with a “Buy Book” link that redirects visitors to Defendant Youngblood’s

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Amazon page, where the book will presumably be available for purchase.2 (Exhibit 13 (February

12, 2025 screen capture of duaneyoungblood.com).)




       19.      The preview of the book cover embedded in his business website includes a

description of the book, in which Youngblood promises to go into “the sexual abuse and betrayal

by prominent spiritual leaders—Bishop Quander Wilson, Bishop T.D. Jakes, and Bishop Sherman

Watkins.” (Exhibit 14 (February 4, 2025 screen capture of I Overcame It To Live My Best Life

book cover).)




2
 The book was initially set to publish on February 10, 2025, but just the day before its release, it
was bumped back to March 3, 2025. (Compare Exhibit 12 with Exhibit 13.)
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       20.      On January 24, 2025—the day after filing the instant motion, Youngblood’s

attorney, Tyrone Blackburn, appeared as a special guest on Larry Reid Live, during which he

boasted about his client’s motion and further attacked Bishop Jakes. (See Larry Reid Live, 1.24.25

- Larry Reid Live: Tyrone Blackburn SPEAKS: Bishop TD Jakes vs Duane Youngblood FILINGS,

YouTube (Jan. 24, 2025), https://www.youtube.com/watch?v=gkyKIwC-_mA&t=4398s).)

Notably, starting at the 1:16:36 mark of the video and after Blackburn’s interview ended, Mr.

Reid went through a copy of Youngblood’s motion he had, which by all appearances was not the

as-filed version, but rather a draft version of the motion. (See id.)




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Defendant Duane Youngblood’s Affiants

      21.     Joshua D. Munoz. Defendant Youngblood affiant Joshua Munoz is a convicted

felon and registered sex offender who pled guilty to and served over four years for criminal sexual

offenses including attempted involuntary deviate sexual intercourse. (See Exhibit 15 (Joshua

Munoz Pennsylvania State Police Megan’s Law Public Report).) Specifically, Mr. Munoz was

arrested when he was 23 years old “after traveling to Pittsburgh to allegedly have sex with a 14-

year-old girl.” (Exhibit 16.) Mr. Munoz served over four years in prison in Pennsylvania before

his 2019 release. (Exhibit 17 (Joshua Danilo Munoz Parolee Locator Report).) Mr. Munoz

omitted these facts from his affidavit. (See Blackburn Decl., Exhibit E (ECF No. 35-9).)

Moreover, at the time Mr. Munoz claims in his affidavit that Defendant Youngblood told him

about his accusations against Bishop Jakes over breakfast in July 2023, Defendant Youngblood

appears to have been incarcerated. (Compare Exhibit 5 with Exhibit 6.)

      22.     Landon Claybourne. Defendant Youngblood affiant Landon Claybourne is a

convicted felon who pled guilty to and was sentenced to 41 months for a drug-related crime

involving heroin. (Exhibit 18 (Judgment in a Criminal Case, United States v. Claybourne, No.

2:10-cr-00187-DWA (W.D. Pa. Aug. 14, 2012); Exhibit 19.) These facts were omitted from his

affidavit. (See Blackburn Decl., Exhibit F (ECF No. 35-10).)

      23.     Defendant Youngblood’s Wife, LaShawn Youngblood. In her affidavit for her

husband, LaShawn Youngblood claims that “a few years” before “the spring of 2015,”

Youngblood told her about his accusations against Bishop Jakes. (See Blackburn Decl., Exhibit

D (ECF No. 35-8) (Affidavit of LaShawn Youngblood).) However, on September 7, 2014, Mrs.

Youngblood wrote and submitted to the Court overseeing her husband’s criminal case at the time

a letter of support for her husband, noting that it was her “hope” that he “be allowed to come

home” instead of being incarcerated. (Exhibit 1 at 60.) The letter was submitted before Defendant
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Youngblood admitted he was guilty of the sexual abuse crime he was later convicted of.

(Compare Exhibit 1 at 60 with Exhibit 3 at 14.) In that letter, Mrs. Youngblood did not mention

that her husband had himself been assaulted or abused by Bishop Jakes, or even mention Bishop

Jakes at all, despite the fact that Bishop Jakes was by then a world-renowned spiritual leader.

Additionally, her own husband, at his June 8, 2015 parole violation hearing, swore specifically

that he “was not able to share with” his wife his claims of his own abuse before he was facing

years in prison for his repeated heinous crimes, including any claim of abuse by Bishop Jakes.

(Exhibit 3 at 11.) Nevertheless, in her affidavit submitted in support of Defendant Youngblood’s

instant motion, she now claims that her husband had told her about his accusations against Bishop

Jakes “a few years” before “the spring of 2015.” (See Blackburn Decl., Exhibit D (ECF No. 35-

8).)

         24.   Defendant Youngblood’s Brother, Richard Youngblood.              According to an

individual who “know[s]” Richard Youngblood and commented in September 2008 on a post

titled “Youngblood’s Wicked Offenses” on a website called castthefirststone, Richard

Youngblood began spreading false claims about Bishop Jakes in 2008 because of Bishop Jakes’s

“lack of support during Richard’s brothers (Dwayne) molestation case.” (Exhibit 20.) The

commenter likewise stated:

               Richard mentioned that Jakes has known his family so long and that
               a man of his caliber could have easily spoken up in defense for
               Dwayne and maybe aided for his case. He wanted Bishop to know
               how it felt to be falsely accused of the same thing his brother was.
               We tried to talk him out of such a ludicrous idea but Richard was
               determined to get retribution for his family and the pain of such
               allegation has cause him.

Exhibit R. Nevertheless, by least April 2010, Richard Youngblood—going by Apostle Richard E.

Youngblood—continued to boast to would-be followers that he had “served as personal assistant

and Adjutant [sic] to Bishop T.D. Jakes.” (Exhibit 21.)
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       25.     Jeffrey S. Gray. Defendant Youngblood affiant Jeffrey Gray claims to have been

“employed with Merrill Lynch” in 1992 when Youngblood told him about his accusations against

Bishop Jakes. (See Blackburn Decl., Exhibit A (ECF No. 35-5) (Affidavit of Jeffrey S. Gray).)

However, according to Gray’s own FINRA broker check report, his FINRA registration with

Merrill Lynch ended on April 23, 1991, and he thereafter was not registered in any capacity with

FINRA until November 17, 1992 (with PNC Securities, not Merrill Lynch)—leaving a noticeable

gap during the time he claims Youngblood told him about his accusations about Bishop Jakes.

(Exhibit 22 (Jeffrey S. Gray FINRA Broker Check Report).)

The False AI-Generated Social Media Campaign Against Bishop Jakes

       26.     In his Motion, Defendant Youngblood brings up the false AI-generated social

media campaign that began in early December 2023 against Bishop Jakes. Bishop Jakes, like

other prominent black celebrities, became the unwitting target of a false and horrific YouTube

campaign, wherein dozens of YouTube channels suddenly began posting videos with

manufactured headlines and doctored images falsely depicting Bishop Jakes as being associated

with Sean “Diddy” Combs’s now-infamous “freak-off” parties and implicated in the his other

allegedly criminal enterprises, and depicting Bishop Jakes in lewd and compromising positions,

as being arrested or put in jail, or both.

       27.     These allegations have been completely debunked by independent arbiters. These

allegations are and have been proven to be absolutely false. For example, Snopes.com, the

independent fact-checking site that researches and debunks rumors and other high-profile claims

independently verified that the claims about Bishop Jakes’s illicit connections to Mr. Combs’s

alleged conduct were “false and unfounded.”        (See Exhibit 23.)     Similarly, NBC News

investigated the flood of fake content on YouTube about prominent Black celebrities and leaders,

including and specifically Bishop Jakes, and determined that the YouTube videos “used
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manipulated media to depict celebrities engaging in lewd acts and exaggerated displays of

emotion in video thumbnails,” and the YouTube video titles and thumbnails indicate narratives

or allegations that aren’t in the videos themselves.” (See Exhibit 24.)

        28.      Bishop Jakes has begun the legal process of holding the creators and disseminators

of this false and malicious social media campaign accountable for their conduct. See In re Ex

Parte Application of T.D. Jakes, No. 5:24-mc-80319 (N.D. Cal., filed Dec. 19, 2024).

Authentication of Attached Documents

        29.      Attached as Exhibit 1 is a true and correct copy of the criminal case file of Duane

Eric Youngblood obtained by my office from the Allegheny County Clerk’s office.

        30.      Attached as Exhibit 2 is a true and correct copy of the March 10, 2015 Sentencing

Hearing in Commonwealth v. Youngblood, Case No. 10522-2014, which was obtained by my

office from the official Court Reporter.

        31.      Attached as Exhibit 3 is a true and correct copy of the probation violation hearing

in Commonwealth v. Youngblood, Case No. 4961-2006, which was obtained by my office from

the official Court Reporter.

        32.      Attached as Exhibit 4 is a true and correct copy of the Parolee Locator Report of

Duane     Eric    Youngblood      obtained   by   my    office   on   January    21,   2025,   from

https://inmatelocator.cor.pa.gov/.

        33.      Attached as Exhibit 5 is a true and correct copy of the Pennsylvania State Police

Megan’s Law Public Report of Duane Eric Youngblood obtained by my office on January 21,

2025, from https://www.meganslaw.psp.pa.gov/.

        34.      Attached as Exhibit 6 is a true and correct copy of the Pennsylvania Correctional

Industries 2024 Products and Services Inmate Apparel PowerPoint, which was downloaded by

my                 office             from              https://www.pa.gov/content/dam/copapwp-
                                                  13
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pagov/en/cor/documents/programs/pennsylvania-correctional-industries/catalogs/inmate-

apparel.pdf.

      35.      Attached as Exhibit 7 is a certified transcript of the October 28, 2024, episode of

Larry Reid Live.

      36.      Attached as Exhibit 8 is a certified transcript of the November 3, 2024 episode of

Larry Reid Live.

      37.      Attached as Exhibit 9 is a true and correct copy of the GoDaddy WHOIS Database

Domain Registration for duaneyoungblood.com captured by my office on February 4, 2025.

      38.      Attached as Exhibit 10 is a true and correct copy of the Wayback Machine’s

November 9, 2024, archive of duaneyoungblood.com which was captured by my office on

February 4, 2025 from https://web.archive.org/web/20241109221857/http:/www.duaneyoungbl

ood.com/.

      39.      Attached as Exhibit 11 is a true and correct copy of a January 12, 2025 Facebook

post from Duane Youngblood which was captured by my office on February 13, 2025 from

https://www.facebook.com/duaneeyoungblood/posts/931803179041365:931803179041365.

      40.      Attached as Exhibit 12 is a true and correct copy of a screen capture of

duaneyoungblood.com        obtained    by   my        office     on   February    4,   2025,   from

www.duaneyoungblood.com.

      41.      Attached as Exhibit 13 is a true and correct copy of a screen capture of

duaneyoungblood.com       obtained    by    my        office    on    February   12,   2025,   from

www.duaneyoungblood.com.

      42.      Attached as Exhibit 14 is a true and correct copy of the cover of Duane

Youngblood’s book I Overcame It To Live My Best Life, which was downloaded by my office on



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February     4,     2025    from     https://duaneyoungblood.com/wp-content/uploads/2025/02/I-

OVERCAME-IT-TO-LIVE-BOOK-COVER-2024-not-main-scaled.jpg.

      43.      Attached as Exhibit 15 is a true and correct copy of the Pennsylvania State Police

Megan’s Law Public Report of Joshua Munoz obtained by my office on February 12, 2025, from

https://www.meganslaw.psp.pa.gov/.

      44.      Attached as Exhibit 16 is a true and correct copy of the June 3, 2014, CBS News

article titled: “Va. Man Arrested While Trying To Meet Girl, 14, For Sex,” which was obtained

by my office on February 13, 2025, from https://www.cbsnews.com/pittsburgh/news/va-man-

arrested-while-trying-to-meet-girl-14-for-sex/.

      45.      Attached as Exhibit 17 is a true and correct copy of the Parolee Locator Report of

Joshua     Danilo   Munoz     obtained    by   my      office   on   February   10,   2025,   from

https://inmatelocator.cor.pa.gov/.

      46.      Attached as Exhibit 18 is a true and correct copy of the Judgment in a Criminal

Case filed in United States v. Claybourne, No. 2:10-cr-00187-DWA in the United States District

Court for the Western District of Pennsylvania on August 14, 2012.

      47.      Attached as Exhibit 19 is a true and correct copy of an August 14, 2024 press release

from the Department of Justice titled: “Wilmerding Man Sentenced To Prison For Conspiring To

Distribute Heroin,” which was captured by my office on February 13, 2024, from

https://www.justice.gov/archive/usao/paw/news/2012/2012_august/2012_08_14_01.html.

      48.      Attached as Exhibit 20 is a true and correct copy of a September 8, 2008 blog post

titled: “Youngblood’s Wicked Offenses,” which was obtained by my office on February 13, 2025,

from https://castthefirststone.wordpress.com/youngbloods-wicked-offenses/.




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        49.         Attached as Exhibit 21 is a true and correct copy of the Wayback Machine’s April

13, 2010, archive of R.E. Youngblood Ministries website http://reyoungblood.org/about.php,

which         was       captured    by    my      office      on    February    13,   2025     from

https://web.archive.org/web/20100413170314/http://reyoungblood.org/about.php.

        50.         Attached as Exhibit 22 is a true and correct copy of the FINRA Broker Check

Report of Jeffrey S. Gray, which was obtained by my office on January 25, 2025, from

https://brokercheck.finra.org/individual/summary/1758815.

        51.         Attached as Exhibit 23 is a true and correct copy of the May 14, 2014, Snopes

article titled: “T.D. Jakes Disparaged in False and Unfounded Rumors Alongside ‘Diddy’ Sex-

Abuse Allegations,” which was obtained by my office on February 13, 2025, from

https://www.snopes.com/news/2024/05/14/td-jakes-sean-diddy-combs-rumors/.

        52.         Attached as Exhibit 24 is a true and correct copy of the January 30, 2025, NBC

News article titled: “Fake news YouTube creators target Black celebrities with AI-generated

misinformation,” which was obtained by my office on February 13, 2025, from

https://www.nbcnews.com/tech/misinformation/ai-deepfake-fake-news-youtube-black-

celebrities-rcna133368.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.



DATED: February 14, 2025



                                                           Dustin A. Pusch




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